                    Case 1:24-cv-07776-NRB                   Document 23           Filed 10/29/24        Page 1 of 2

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Southern District
                                                     __________  DistrictofofNew York
                                                                              __________

JOHN DOE,                                                                     )
                                                                              )
                                                                              )
                                                                              )
                             Plaintiff(s)
                                                                              )
                                                                              )
                                 v.                                             Civil Action No. 1:24-cv-7776
SEAN COMBS, DADDY’S HOUSE RECORDINGS INC., CE OPCO,                           )
LLC d/b/a COMBS GLOBAL f/k/a COMBS ENTERPRISES LLC, BAD                       )
BOY ENTERTAINMENT HOLDINGS, INC., BAD BOY                                     )
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS HOLDINGS,                           )
INC., BAD BOY RECORDS LLC, BAD BOY ENTERTAINMENT LLC,                         )
BAD BOY PRODUCTIONS LLC, and ORGANIZATIONAL DOES 1-10.
                                                                              )

                            Defendant(s)
                                                     SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) Sean Combs
                                            Metropolitan Detention Center
                                            80 29th Street
                                            Brooklyn, New York 11232




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:
 Anthony G. Buzbee                 Andrew Van Arsdale                      Antigone Curis
 The Buzbee Law Firm               AVA  Law  Group                         Curis Law, PLLC
 J.P. Morgan Chase Tower           3667 Voltaire Street, Ste. 101          52 Duane Street, 7th Floor
 600 Travis, Suite 7500            San Diego, CA 02106                     New York, NY 10007
 Houston, Texas 77002
          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


 Date:             10/29/2024                                                                       /s/ J. Gonzalez
                                                                                             Signature of Clerk or Deputy Clerk
                    Case 1:24-cv-07776-NRB                    Document 23        Filed 10/29/24            Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:24-cv-7776

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
